
15 N.Y.2d 977 (1965)
The People of the State of New York, Respondent,
v.
Albert Livingston, Appellant.
Court of Appeals of the State of New York.
Argued March 8, 1965.
Decided April 15, 1965.
Walter Barthold and Anthony F. Marra for appellant.
Frank S. Hogan, District Attorney (Malvina H. Guggenheim and H. Richard Uviller of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, SCILEPPI and BERGAN.
Judgment modified to the extent of directing a hearing on the issue of voluntariness of the confession introduced as part of the People's case at the trial and, as so modified, affirmed. Case remitted to Supreme Court for New York County for such hearing. (People v. Huntley, 15 N Y 2d 72.)
